     Case 3:19-cv-00040-NKM Document 6 Filed 11/19/19 Page 1 of 1 Pageid#: 40




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

FAULCONER CONSTRUCTION                        )
COMPANY, INC.,                                )
                                              )
               Plaintiff,                     )
                                              )
v.                                            )
                                              )      CASE NO.: 3:19-cv-00040
FORTILINE, INC., d/b/a                        )
FORTILINE WATERWORKS,                         )
                                              )
               Defendant.                     )

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff, pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure, dismisses

the above-captioned action against the Defendant without prejudice.

        This the 19th day of November 2019.

                                                     FAULCONER CONSTRUCTION
                                                     COMPANY, INC.


                                              BY:           /s/     Brad C. Friend
                                                     Brad C. Friend
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